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CHAPTER 9 — USE OF FORCE

REV. APRIL 15, 2024

9.01 POLICY

It is the policy of the Bexar County Sheriff's Office that deputies use only the force that reasonably
appears necessary to effectively bring an incident under control, while protecting the lives of the officer

and others the use of force must be objectively reasonable. The deputy must only use that force which a
reasonably prudent officer would use under the same or similar circumstances.

9.02 PURPOSE

A. The purpose of this policy is to provide law enforcement deputies of this agency with guidelines
for the use of deadly and non-deadly force. Force may be necessary:

1. When necessary to preserve the peace, prevent commission of offenses, or prevent suicide
or self-inflicted injury;

2. When making lawful arrest and searches, overcoming resistance to such arrests or searches,
and preventing escapes fram custody;

3. When in self-defense, or defense of another, against unlawful violence to person or
property;

4. When preventing or interrupting an intrusion on or interference with the lawful possession
of property.

B. In each instance of the use of force, the officer should exhaust every reasonable means of
employing the minimum amount of force to affect an objective before escalating to the next, more
forceful method. However, an officer is not required to engage in prolonged combat or struggle rather
than resorting to that method which will most quickly and safely bring the situation under control.

Cc. The amount and degree of force used in attaining a law enforcement objective as authorized by
Texas law is determined by the exercise of good judgment, common sense, logic, and the circumstances
surrounding the incident, including but not limited to the:

1. Nature of the case;

2. Behavior of the subject against whom the force is to be directed;
3, Actions by third parties who may be present;

4, Physical conditions; and
5. Feasibility and/or availability of alternative actions.
D. Deputies may use reasonable force to overcome resistance in the lawful performance of duties,

even though there is no immediate or apparent danger calling for self-defense. However, deputies must
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be acting within the scope of their official authority, Every reasonable opportunity to comply with the
request for cooperation must be given to the person and force used only after all other reasonable
means have failed to produce compliance.

E. Before using reasonable force, deputies shall identify themselves as deputies and state their
purpose to the offender and others immediately present, unless they reasonably believe their purpose
and identity are already known or cannot reasonably be made known.

F, Where possible, an officer will use verbal persuasion first, followed thereafter in ascending
order, by:

1. Physical strength and skill, ranging from restraint and come along holds to hand or foot
strikes;

2. Approved ASP® baton used in the prescribed manner, chemical agents, Electronic Control
Device (ECD)/Electronic Control Weapon (ECW); and

3. Approved firearm. Deputies must bear in mind the order of this continuum of force is not
absolute, and the situation may require immediate use of a higher level of force.

G. Each instance of the use of force requires that restraint be exercised to avoid exceeding the
force necessary to control a situation. Generally, the use of force against another is not justified in
response to verbal provocation alone.

9.03 DEFINITIONS

A. Force - can range anywhere from verbal persuasion exceeding normal conversation to physical
strength and skill, designated chemical, Taser™ , baton or similar instrument not designed to cause
serious bodily harm.

B. Necessary force - is that force which does not exceed the minimum amount and degree of force
sufficient to achieve a legitimate law enforcement objective.

Cc. Deadly force - is that force which is intended or known to cause, or by the manner of its use or
intended use is capable of causing death or serious bodily injury.

D. Reasonable grounds - are those set of facts or circumstances, based on reliable and trustworthy
information, personal knowledge, or observation, which reasonably shows and would warrant an
ordinary, prudent person, in the same or similar circumstances, to believe that a particular person is
guilty or is about to commit some offense against the law.

E. Less lethal weaponry - is a degree lower than traditional weapons such as firearms. For the
purposes of this policy, the term “less lethal weaponry” includes, but is not limited to pepper spray,
pepper ball, distraction devices, Taser™ , etc...

F. Non-deadly force - is force applied with the intention to subdue or render a subject non-
threatening, with a lower probability of effecting fatal consequences.

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G. Defense of third person - A person is justified in using force or deadly force against another to
protect a third person if:

1.

Under the circumstances as the actor reasonably believes them to be, the actor would be
justified in using force or deadly force to protect himself against the unlawful force or
unlawful deadly force he reasonably believes to be threatening the third person he seeks to
protect; and

The actor reasonably believes that his intervention is immediately necessary to protect the
third person. Fo protect his/her own life or that of another.

To prevent the escape of one who has committed or attempted to commit a forcible felony
which involves the infliction or threatened infliction of great bodily harm or is attempting to
escape by use of deadly weapon or otherwise indicates that he/she will endanger human
life or inflict great bodily harm unless arrested without delay.

G. An approved weapon - is one that is approved by the BCSO.

1,

4,

BAND-IT™ {ECD} - A remotely operated electronic restraint device which produces an
electrical shock of 50,000 volts for 8 continuous seconds that can disorient, temporarily
immobilize and stun a person without causing permanent injuries. It is activated by a radio
transmitter with a range of up to 175 feet. The device may be used in combination with
other restraints such as handcuffs, belly chains and leg irons.

An ASP® expandable baton. Authorized baton is (16) sixteen inches for ptainclothes officer
and a (21) twenty-one inch or a (26) twenty-six inch baton for uniformed Deputies

Taser™ (ECW) - A device designed to disrupt a subject’s motor and sensory nervous system
through the use of electrical energy sufficient to cause Neuro-Muscular Incapacitation. Only
authorized Bexar County Sheriff's Office Tasers™ shall be carried by Bexar County deputies.

a. SPARK TEST: A non-contact demonstration of the Tasers™ ability to discharge electricity.
This is accomplished without the cartridge. When activated the unit will visually display
an electrical arc between the electrodes.

b. DEPLOYMENT: The intentional discharge of a Taser™ at or towards a subject using either
the probe or drive stuns modes. This does not include a spark test or an accidental
discharge.

c. PROBE: A metal dart which is propelled from the cartridge.

d. Anti — FELONY IDENTIFICATION Device (AFID): Bar - coded serialized ID tags which
resemble confetti. AFID’s are discharged from the cartridge when the Taser™ is

deployed in probe mode.

Oleoresin Capsicum (OC) Pepper spray MK Ill / MK IVB size unit Pepper Mace.

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9.04 TRAINING

A. Only deputies who have successfully completed the prescribed training course and received
proper certification which assures safe and proper handling of this equipment shall be eligible/
authorized to use/dispense these items in the performance of their duties. No deputy shall
carry/dispense any of this equipment without proper training, certification, and approval.

B. This training will be properly documented, approved by the BCSO Academy Commander, and in
the deputies training file at the BCSO Training Academy and as appropriate in Personnel Administration.

9.05 AUTHORIZED INSTRUMENTS OF PHYSICAL FORCE

A. Deputies assigned to law enforcement duties are authorized to and shall carry and wear all of
the following instruments of physical force while on-duty:

1. Authorized weapon and ammunition.

2. At least one less lethal weapon: An ASP® expandable baton, Taser™ or OC Spray as
authorized.

3. Aset of handcuff(s).

B. In addition to the above mandatory instruments of force, the law enforcement officer may also
carry the following while on-duty:

1. Aknife with a blade no longer than 5 % inches;

2. A back-up firearm which the officer has received written authorization to carry and has
qualified with on the firing range.

Cc. Deputies assigned to detention (when outside the secure areas of the Jail} shall carry and wear
the following instruments of force while on-duty:

1, Licensed Peace Officers: Authorized weapon and ammunition. (Refer to chapter 8 in this
manual).

2. Licensed Jailers: Authorized weapon and ammunition. (Refer to chapter 8 in this manual).

3. Two pair of handcuffs. Officer may also carry an ASP® baton, TASER or OC Spray if the officer
is certified in its use.

D. Deputies assigned to plain clothes, investigations, special or undercover assignments shail carry
the following instruments of force while on-duty:

1. Authorized weapon and ammunition
2. At least one set of handcuffs

3. At their discretion, one less lethal weapon of their choice

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4. As determined by the Chief Criminal Investigations Division, with the Sheriff's approval any
weapon deemed necessary to conduct undercover operations, including those specifically
prohibited in paragraph 9.06.

9.06 NON- AUTHORIZED INSTRUMENTS OF PHYSICAL FORCE

All deputies are prohibited from carry the following while in uniform on-duty or in uniform working off-
duty.

A. Any handgun other than a BCSO authorized weapon, or an authorized back-up weapon.

B. Any nightstick or baton other than the authorized ASP® expandable baton;

Cc. Any illegal or unauthorized knife such as a stiletto or a knife with a blade exceeding 5 % inches;
Bp. Any illegal or prohibited firearm/weapon or grenades;

E. Brass knuckles;

F. Slipper, or saps;

G. Nunchakus; or

H. Stun guns.

EXCEPTION: The Chief Criminal Investigations Division, with the Sheriff's approval, may approve any
weapon deemed necessary to conduct undercover operations, including those specifically prohibited in
paragraph 9.06.

9.07 USE OF FORCE - NON DEADLY

It is the policy of the Bexar County Sheriff's Office to protect life by any legal means necessary and use
the least amount of force in order to affect an arrest or quell a violent disturbance. Deputies responding
to an incident where use of force is required may attempt to utilize less lethal weaponry when
applicable.

A. The philosophy driving this policy recognizes that violent people will be stopped before harm or
injury is inflicted to innocent victims, bystanders, self, and or Deputies responding to the incident. It is
the duty and responsibility of the initial responding deputy(s), to use all legal means to restore order.

B. The prioritization of activities in their order of importance are:
1. Stop the violent/aggressive behavior with the least amount of force necessary to affect the
arrest or quell the disturbance. If possible by the use of less lethal weaponry when/where

applicable.

2. Rescue the victims.

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3. Provide medical assistance to the victim(s) and actor(s).
4. Preserve the crime scene.

9.08 PROCEDURES-GENERAL

A. The first deputy on the scene will determine if deadly or less lethal weaponry is applicable and
advise the on duty supervisor. Whenever possible, the deputy shall standby for the on duty supervisor.
The on duty supervisor will make the scene and take control of the situation.

B. The deputy carrying the less lethal weapon will always have a cover Deputy in position ready to
use deadly force if needed.

Cc, In a detention situation, a $.E.R.T. team member will stay with the person deploying less lethal
weaponry.
D. Medical personnel wiil be notified and stage in the immediate area to treat the recipient of non-

deadly force and/or deputies.

E. Deputies will not use “less lethal” weaponry as a pain compliance technique when the subject(s)
are restrained in handcuffs and are only verbally resistant.

9.09 LESS LETHAL WEAPONRY

A. Only authorized “less lethal weaponry” will be used / dispersed where applicable.

B. The “less lethal weaponry” authorized by the Bexar County Sheriff's Office are:

1. Pepper ball Launcher: Jaycor SA 200 launcher with live PAVA (Capsaicin Il) powder projectile,
scented inert powder projectile, inert liquid projectile, glass-shattering projectile. (SWAT,
ERT, and SERT specific).

2. Oleoresin Capsicum (OC} Pepper spray: MK II / MK IVB size unit Pepper mace, MK Ill / MK
IVB Pepper foam MK IX Pepper foam.

3. Taser™ - Electronic Control Weapon (ECW).

4. Distraction device(s}): Defense Technology/Federal laboratories Multi port plus non bursting
canisters, 7001 command initiated (Cl), stinger grenade rubber ball, stinger grenade rubber
ball & OC, aerial diversion 12. (SWAT, ERT, and SERT specific).

5. ASP® - Expandable Baton.

6. BAND-IT™ Electronic Control Device (ECD).

9.10 USE OF DEADLY FORCE

A. Preparation for use of deadly force.
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1. To effectively accomplish their duties, it is recognized that during certain situations, an
officer may find himself in a position of having to threaten the use of deadly force to thwart
an arising situation possessing the immediate potential of leading to the necessity to protect
life or prevent serious bodily injury.

2. Deputies may make special preparations for the use of deadly force as they observe the
need to do so, consistent with 9.05, above. Examples of preparatory steps include, but are
not all-inclusive:

a. Releasing the safety strap on holster;

b. Placing the hand on pistol grips;

c. Removing the firearm from its holster or pointing the firearm; or
d. Removing the shotgun /rifle from the patrol vehicle.

e. Generally, an officer may use deadly force only in situations, which indicate that, the
officer or another person may be seriously injured or killed in the deadly force is not
used,

f. “Deadly force" means force that is intended or known by the actor to cause, or in the
manner of its use or intended use, is capable of causing, death or serious bodily injury:

1) The discharge of a firearm is deadly force if directed at a person or at a location
where persons may be;

2) The use of a choke hold (carotid choke) calculated to induce unconsciousness IS
DEADLY FORCE;

3) The use of an ASP® baton to the head, face, throat, neck, or kidney IS DEADLY
FORCE;

4) Striking a person in the head, face, throat, neck, or kidney with a flashlight 1S
DEADLY FORCE;

5) Heavy or repeated strikes to the head, face, throat, neck, or kidney with the hands
or feet may be considered DEADLY FORCE under certain circumstances.

g. It shall be incumbent on every officer to exhaust every reasonable means of employing
only that amount of deadly force necessary to accomplish the purpose.

h. Where feasible, a verbal warning shall be given to the offender prior to the use of
deadly force.

ji. Once the immediate danger of death or serious bodily injury to an officer or another
person has passed, deadly force shall not be used.

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j. Tothe extent an officer has reasonable time for consideration, he shall never use deadly
force which creates a greater risk to self and others (such as hostages, bystanders, and
otner Deputies) of death or serious bodily injury, than if he did not use such deadly
force. This decision must reflect the circumstances, for example:

1) The nature and seriousness of the risk of injury;

2) The age, physical condition, and behavior of the suspect;

3) Relevant action by any third parties;

4} Physical conditions at the scene, such as visibility;

5} The feasibility of alternative actions; and

6} The opportunity and actual ability of the suspect to injure the officer or others.

k. Deadly force against one who is fleeing from custody or who is fleeing immediately after
committing a felony offense is prohibited, unless immediately necessary to protect
against a substantial and immediate risk that the subject wilt cause death or serious
bodily harm to the officer or a third person.

|. A Carotid Neck Hold is considered to be deadly force even if the only objective is to
induce temporary unconsciousness. This application of force is also referred to as a
carotid neck restraint or a carotid chokehold. Regardless of the name used, it is
described as the application of force or pressure to the neck or throat of the suspect.
This technique is unauthorized except in situations where the officer would be justified
in using deadly force against an individual.

m. Striking a suspect anywhere on the body with a metal or piastic flashlight is
unauthorized. Deputies are not to use their flashlights as clubs or nightsticks. Striking
anyone with a flashlight is only acceptable in situations where the officer would be
justified in using deadly force against an individual.

n. The following are examples which may be considered deadly force situations depending
on the circumstance:

1) Shooting at, or stabbing an officer;

2) Striking an officer with a club or a blunt instrument;

3) The pointing of a firearm at an officer;

4) Advancement towards an officer by a suspect exhibiting a firearm, knife or club in a
manner and in close enough proximity to the officer to give reason to believe that
the officer may be assaulted;

5} Aphysical struggle in which the suspect is attempting to remove or has removed the
officer's firearm or less lethal weaponry from the officer's possession.

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9.11 WEAPONS DISCHARGE

Discharge of a weapon by an officer is prohibited:

A. As a warning shot;

B. In misdemeanor situations, except those instances consistent with paragraph 9.05 B;

C. Solely to protect property;

D. From a moving vehicle, at a moving vehicle, or fleeing vehicle, except where any of the

occupants of said suspect vehicle are discharging or attempting to discharge a firearm at or in the
direction of the officer or a third person, or the suspect vehicle is pursuing an officer who is trapped
with no possible avenue or means to escape the suspect vehicle;

E. To effect an arrest or prevent an escape, unless immediately necessary to protect the officer or
another from death or serious bodily injury; and

F. Randomly into buildings or other places where offenders are hiding unless immediately
necessary to protect the officer or another from death or serious bodily injury.

9.12 DEADLY FORCE AGAINST ANIMALS

A. Deadly force is sometimes required against animals. {t may be used by an officer to protect self
or another from serious bodily injury when no reasonable alternatives exist.

B. Except in the above instances, an officer’s supervisor must approve the killing of a dangerous
animal or one that is so badly injured that humanity requires it’s removal from further suffering, When
expediently possible, it is referred, but not mandatory, that the permission of the owner be obtained
unless it is a wild animal.

9.13 REQUIRED REPORTS

A. When a deputy requires any force to effect an arrest, subdue, or control an arrested person or
prisoner; or in any other situation, the deputy shall fully document and described in writing the reasons
for the use of force in the BCSO report. A detailed descriptive version of the facts leading up to the
officer's use of force is required. A phrase similar to “only necessary force was used to subdue the
situation” is not satisfactory and should be avoided, The report should include the cause of the
situation, including verbatim as much as possible the words of the subject, and any actions or other facts
pertinent which caused the Deputies to respond with force. All deputies who witnessed or participated
in the incident should submit a narrative report. The deputies’ supervisors should be notified as soon as
possible.

B. In conjunction with reporting requirements, immediately notify the Deputy Chief and Sheriff
whenever deadly force is used.

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9.14 INVESTIGATIONS REQUIRED

A. Other than complete reports required in paragraph 9.09 above, no separate investigation is
usually conducted unless a complaint is received making specific allegations against the deputies
involved. If required, the Professional Standards & Integrity Division will conduct the investigation.

B. In instances of shots fired, two distinctions are drawn:

1. Anofficer’s supervisor is notified if there is an accidental discharge of a weapon by an officer
or shots are fired by an officer resulting in no hits. During the officer's off-duty hours, the
ranking Patrol Supervisor shall ensure that the affected Division Chief is notified for
purposes of investigation.

2. Immediately notify an officer's supervisor when shots are fired and a person is hit. During
the officer's off-duty hours, the ranking Patrol Supervisor shatl ensure that the Chief,
Criminal Investigations Division, is notified for purposes of investigation.

9.15 NOTIFICATION TO SHERIFF

Any time an officer fires a weapon, on or off-duty in the absence of personal sport or for training
purposes; it shall be the duty of the supervisor receiving the information to insure the Sheriff is notified.

9.16 VIOLATIONS OF POLICY

A. Violations of this policy and philosophy require an investigation reportable to the Bexar County
Sheriff's Office and will result in appropriate disciplinary action.

B. Approval to carry and/or use of any authorized weapon or device on duty may be revoked, by
the Sheriff or the Sheriff's designated representative, at any point that a Deputy has demonstrated an
inability or unwillingness to strictly adhere to established organizational policy regarding the use of such
weapon or device.

APPENDICES:

A— Impact Weapons.
B — Electronic Control Devices (ECD).
C - Oleoresin Capsicum (OC) pepper spray (chemical agents).

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APPENDIX A - USE OF NON DEADLY FORCE — IMPACT WEAPONS
A-9.1, ASP® - EXPANDABLE BATON

A. The authorized ASP® expandable batons may be used whenever force is legally justified and
lesser methods have failed or are impractical under the circumstances.

B. The ASP® batons are not designed to be used as a club or bludgeon and should not ordinarily be
raised above the head to strike a blow to any person in non-deadly force situations. Blows with the
ASP® batons should be short and snappy and delivered only to incapacitate temporally or to deter the
adversary (such as blows to the shins, knees, and elbows). When used properly, in accordance with this
policy, the use of ASP® batons are considered the most dramatic form of non-deadly force and it must
be undertaken prudently.

Cc. Blows with the ASP® baton to the head or neck, or blows capable of inflicting permanent injury
shall be made only where deadly force is permitted under this chapter.

D. Striking an adversary with the officer's hands or feet is usually considered non-deadly force,
however, strong blows to head, face or throat or repeated blows to these areas with the hands or feet
can be considered as deadly force.

E. Striking an adversary with a flashlight is prohibited in non-deadly force situations.

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APPENDIX B — ELECTRONIC CONTROL DEVICES

B-9.1 BAND-IT™ (ECD)

A. Court Security Division, Judicial Services Division & Detention Division Commanders or their
designees shall assign the BAND-IT™ to deputies for use on inmates who fit predetermined criteria listed
below in section F.

B. Commanders or their designee shall log each BAND-IT™ issued on an Equipment Inventory Log.
The log shall denote the BAND-IT™ unit number, date/time issued and date/time returned. When not in
use, the BAND-IT™ and wireless transmitter shall be returned to the secured storage area and ensure the
device has an adequate charge for the next use.

NOTE: The initial charge of the BAND-IT™ should be no more than ten (10) hours, and six to eight hours for
subsequent charges.

c. Each deputy assigned a BAND-IT™ shall conduct a pre-service inspection of the device and the
wireless transmitter to confirm its condition, the inspection shall consist of:

1. Verifying the identifying numbers on the transmitter and receiver match.
2. Ensure the device is clean, charged and serviceable.
3. Conduct a function check of the device.

NOTE: In the event the BAND-IT™ fails the pre-service inspection the assigned deputy shall notify their
supervisor. The device shall be taken out of service until necessary repairs are made.

D. BAND-IT™ USAGE

1. Deputies who are assigned to the Court Security Division will use the BAND-IT™ in
conjunction with a locking transport leg brace. The division/shift commander shall be
notified immediately when the band-it™ has been deployed.

2. Deputies are authorized to use the BAND-IT™ without prior approval, in cases where the
threat is both credible and imminent. All personnel who have been assigned a BAND-IT™
must comply with the Manual Chapter 8 (Authorized Weapons, Training & Related Matters)
and Chapter 9 (Use of Force}. The BAND-IT™ may be applied te a detainee under the
following circumstances:

a. The detainee has a prior history of:
1) Escape or escape attempts.
2) Violence or have made threats of violence against themselves or staff.

3) Displaying disruptive behavior.

b. The detainee’s physical size and stature is overbearing.
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c. if the detainee is wearing civilian attire while in custody at court proceedings.
d. The detainee has a high profile case such as a death penalty case.
e. Adetainee is under extradition.

f. At the direction of a supervisor.

3. Due to the ECD’s potential to cause serious injury, this device shall only be used in the
following circumstances.

a. To overcome a subject whose active aggression is an immediate or credible threat to the
safety of the deputy(s), the public, or themselves.

b. To overcome active resistance or escape.
c. To prevent escape from custody.

4. Whenever possible, a verbal announcement of the intended use of the BAND-IT should
precede the application of the device in order to:

a. Provide the individual with a reasonable opportunity to voluntarily comply.
b. Provide other deputies and individuals with warning that a BAND-IT™ may be deployed.

5. Deputies should consider the potential for serious consequences before deploying the
BAND-IT™ in the following situations:

a. In potentially flammable or explosive environments.

b. On individuals who are passively resisting.

c. On individuals operating a moving vehicle or machinery.
d. On individuals who could fall from a significant height.

6. The BAND-IT™ shall not be used on individuals who may be at a greater risk of harm
including:

a. Individuals with known neuromuscular diseases.
b. Individuals with known heart problems.
c. Pregnant women

7. When activating the BAND-IT™, deputies shall use it for one standard cycle then stop to
evaluate the situation. If subsequent cycles are necessary, the cycles should not exceed
three activations when possible. The number of cycles will be documented in a report and

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include an explanation of why the additional cycles were necessary and how the person
responded after each cycle. An evaluation of the activation shall be done after each cycle.

8. The BAND-IT™ shall not be used on a subject who was previously subdued by an Electronic
Control Device within the fast 24 hours.

9. Following the use of the BAND-IT™, deputies should use a restraint technique that does not
impair the subject’s respiration.

a. The location and type of incident shall be reported to the Division/Shift Commander and
a supervisor will respond to the scene.

b. Upon compliance of the subject, photographs will be taken of the electrode contact
area and / or any subsequent injuries.

c. Whenever the BAND-IT™ is deployed, an offense or incident report shail be generated
to document the deployment.

1) A detailed description of each method of force utilized in attempting to control the
subject will be documented in each of the reports.

NOTE: At the supervisors discretion an Evidence Unit will be dispatched to the deployment location for
photographs of the electrode contact area. The photographs will be documented in the deputies
Offense/Incident Report and copy of the photographs or CD will be placed into the Property/Evidence
Room.

2} A Shift Sergeant will approve all reports, and a copy of the report will be forwarded
through the Chain of Command to the Division/Shift Commander.

3) Upon successful! review of the incident, the report will be maintained per the Bexar
County Sheriff's Office Records Retention Policy.

d. Inthe event of an accidental discharge, the Division/Shift Commander shall be
immediately notified. A report will also be written.

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APPENDIX B — ELECTRONIC CONTROL DEVICES CONTINUED:
B-9.2. TASER™ (ECW)
The Taser Proficiency Control Officer (TPCO) manages all BCSO issued/approved Tasers along with

training for the Bexar County Sheriff’s Office. The TPCO provides the Chief of Training with a final report
on all Taser training and Taser inventory status.

A. PROCEDURES WHILE ON OR OFF DUTY

1. When deploying the TASER™ (ECW) deputies will only use the drive stun mode when exigent
circumstances prevent the use of the probe mode.

2. Personally owned/purchased ECW’s are authorized to be used by deputies outside of the
Adult Detention Center acting in a law enforcement capacity.

3. Personally owned ECW’s shall be the Make, Model and Color as prescribed by the Bexar
County Sheriff's Office Training Academy

4. in addition to the guidelines set forth by Chapter 9 of the Manual, deputies may deploy an
ECW to deter vicious or aggressive animal that threatens the safety of the Deputy or others.

5. Once deployed the ECW will be used until the threat is neutralized. When the behavior that
justified the use of the ECW ends, the Deputy will stop the use of the ECW.

a. Deputies shall only deliver the number of exposure cycles as reasonably necessary to
control the subject.

b. If cover deputies are available, they should attempt to place restraints on the subject
during the exposure cycle.

c. An evaluation of the ECW’s effects should be conducted after each exposure cycle and
the level of force used should be adjusted as needed.

B. RESPONSIBILITIES

1, Deputies should consider the potential for serious consequences before deploying the ECW
in the following situations due to a higher probability of injury to a subject:

a. In potentially flammable or explosive environments.
b. On individuals who are passively resisting.
c. On individuals operating a moving vehicle or machinery.

d. On individuals who could fall from a significant height (i.e. subjects on stairs, fences or
tops of roofs, etc.).

e. On subjects in a body of water due to a danger of drowning.

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f. Women subjects known to be pregnant.
g. The obviously frail or infirmed.
h. The elderly

2. A Deputy will not display or deploy an ECW in a public place except for official use or for
inspection by a supervisor.

3. Actions Following the deployment of the ECW:
a. Deputies should keep the subject under observation and ensure that the subject is
restrained in a manner that does not interfere with their breathing.
b. Medical personnel are summoned to the scene once it is safe. Medical personnel will
evaluate the subjects need for medical treatment.
c. The expended cartridge, probes and AFID’s are collected and placed into evidence.
Deputies should treat the expended probes as a Biohazard due to the presence of bodily

tissue and fluids.

d, Deputies will use standard procedures when submitting this evidence to the evidence
room.

1) Before being placed into evidence receptacles, used probes shall be inserted, point
down, into the expended cartridge and then covered with biohazard tape,

2} The wires should not be wrapped around the cartridge.

3) All evidence submitted must have a case number generated through the Public
Safety Communications Center. An N-Code has been established for the Adult
Detention Center (ADC) to use. Deputies turning in ADC evidence will only be
required to turn in the marked evidence with a copy of a completed BCSO 351-409,
Less Than Lethal Deployment Form.

4. Actions following an accidental discharge:
a. Summon medical aid to the scene, if necessary.
b. Notify the on-duty supervisor.
c. Submit appropriate incident and supervisors reports to the appropriate divisional issuing
authority after the supervisor's investigation. Contents of the incident report are listed
in section 7b.

d. Account for and properly discard the expended cartridge if it is of no evidentiary value.

5. Adeputy who deploys an ECW will report the incident as follows:

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a. A deputy who deploys or whe threatens to deploy an ECW, in order to accomplish a
lawful objective in the performance of their duties, will verbally notify the on-duty
supervisor as soon as time and circumstances permit.

b. The deputy will also file a report with the supervisor immediately following the event or
prior to the conclusion of the deputy’s current shift. Details will include:

1)
2)
3}
4)
5)
6)

7)

Specific circumstances leading to the deployment.
List of all deputies involved in the incident.
The distance from which the ECW was used.
The serial numbers of all cartridges expended.
Information of medical units which responded.
The results of any medical evaluation.
For the purposes of compiling statistics and determining the agencies future training

needs a BCSO 351-409, Less Than Lethal Deployment form will be completed and
forwarded to the Training Academy.

c. A Supervisor who deploys or displays an ECW will make notifications and file a report
with their supervisor prior to the conclusion of their current shift as listed above.

d. A deputy who deploys and ECW shall as soon as possible take the ECW to the Training
Academy for download (deploy record) and to replace the deployed cartridge.

NOTE: If a deputy, who deploys an ECW, is physically affected by the deployment and is injured or
incapable of filing the aforementioned required report, the deputy’s supervisor will file a complete
supervisors report as soon as possible pending further departmental investigation.

Cc. Inspections/ Maintenance

1, Any damage to or malfunction of an ECW/ECD will be documented and reported to a
supervisor and the training academy.

2. Only BCSO issued/approved ECW’s/ECDs are to be carried or used on duty.

3. ECW’s/ECD’s shall be kept clean of dirt and dust.

4. ECW’s/ECD’s shall not be disassembled.

5. All data downloads and updates will be conducted by authorized BCSO Training Instructors.

6. The TCPO issues all cartridges and DPM’s for BCSO and authorized personally owned Tasers.

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7. Any maintenance performed on BCSO owned Taser will be done by the TCPO/Authorized
BSCO Training Academy personnel.

8. The maintenance of a personally owned Taser in the responsibility of the deputy.

B-9.3. MEDICAL TREATMENT

A. Persons who have been subjected to an ECD/ECW shall be treated as follows:

1. IF THE SUSPECT LOSES CONSCIOUSNESS, DEPUTIES SHALL IMMEDIATELY SUMMON EMS TO
RESPOND TO EVALUATE THE SUSPECT

2. Once in custody, the subject shall be examined by EMS. If necessary, the subject may be
transported to a local hospital emergency room or other approved medical care facility. The
transporting deputy shall advise the medical staff that the person was subjected to the
TASER, the approximate time the action occurred and number of cycles.

3. ACCEPTING INTO CUSTODY: The use of an ECD/ECW will be noted on the arrest report and
booking form. The deputies will advise the booking Sgt. and booking intake deputy that the
ECD/ECW was used to control or arrest the subject.

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APPENDIX C — OLEORESIN CAPSICUM (OC) PEPPER SPRAY (CHEMICAL AGENTS)
A. PURPOSE
The purpose of this policy is to define and establish guidelines for the training, carrying and the safe,
effective, and humane use of Oleoresin Capsicum (OC) aerosol/foam agents by deputies of this agency
to achieve lawful objectives. The guidelines established shall apply to all Deputies certified to
carry/utilize this agent.
1. Authorized Training and Certification Requirements
2. All Deputies authorized by their respective administrators to carry OC when performing
their official duties or while acting within the scope of these duties must be trained and
certified to carry and deploy OC. 2. Personnel authorized to carry OC must attend an eight-
(8) hour block of certification training covering the following subjects: History,
considerations, SICDS, decontamination procedures. Each authorized individual will receive
a full facial exposure to OC. Full facial exposure is only required once during initial
certification. Annual re-certification is required to maintain authority and certification to
carry OC. The carrying of OC is optional; however, any officer choosing to carry OC as a force
option is required to comply with this paragraph in its entirety. B. Approved
Equipment/Authorized Manufactures/Approved Unit Sizes.
B. PROCEDURES
1. The following are the only approved OC deployment devices for Deputies of this agency:

a. Personal defense units not to exceed 2.0 02. with a flip-top safety device, and a single
piece canister.

b. Spray pattern shall be a Ballistic stream or Jet-foam.
c. Scoville heat units will not exceed one million SHU'S. d. OC percentages: Ballistic stream:
1) Will not exceed 5.5% Jet-Foam: Will not exceed 10%
2) Approved chemical agents:
a) 5.5% PEPPERMACE
b) 10% PEPPERFOAM
c) 5.5% OC Spray
d) First Defense 10% OC Foam
3) Approved Unit Size

a) Deputies assigned to Patrol, CID and similar units are authorized to carry 5.5%
PEPPERMACE in the MK II or MK IVB size unit.

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b) Deputies assigned to duties in the Court Security Division are authorized to carry
10% PEPPERFOAM in the MK Itl or MK IVB size unit.

c) Deputies assigned to the Detention S.£.R.T. unit are authorized to utilize 10%
PEPPERFOAM in the MK JX size units.

d) Deputies assigned to S.W.A.T. units are authorized to utilize 10% PEPPERFOAM
AND OR 5.5% PEPPERFOAM and/or 5.5% PEPPERMACE in the MK IX size units.

NOTE: No other manufactures or formulations will be authorized without written authorization of the

Sheriff.
Cc. Approved Carry Techniques/Required Carry Equipment

1. Strong side, nozzle to centerline, forward of duty weapon, drawn with weak hand, strong
hand used for reaction/weapon hand.

2. Offside, nozzle to centerline, directly behind magazine pouches, drawn with off- hand,
strong hand used for reaction/weapon as needed.

3. Individual preference, carry in manner most comfortable to deputy, nozzle to centerline, use
either hand to draw and spray.

4. Deputies authorized and certified to carry OC shall carry the OC canister in a belt holster
pouch designed to fit the size canister being used or issued. Materials and closures will be in
accordance with the standards listed in chapter 7 of the Sheriff's Manual of Policy and
Procedure.

D, Deployment Techniques

1. DRAW.

2. Use thumb or index finger to activate,

3. Spray quickly into face area,

a. eyes, nose, throat is the target area
b. spray a I to 3 second burst

4. Distance yourself from subject,

5. Protect your OC canister as you would a firearm,

6. Keep rnoving around subject,

7, When the OC has taken effect, move in and control subject.

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8. After gaining control, start decontamination procedures,
9. Assess subject for possibility of SICDS,
10. Read subject the OC Administrative Warning, (Appendix 1)
11. Transport subject. Continue evaluation for SICDS,
12. Inform. booking personnel of subject's exposure to OC.
13. Document use of OC on required report forms.

E. Decontamination methods and approved supplies

NOTE: Ail deputies of this agency who utilize OC and deploy the agent shall follow the below listed
procedures for subject and personal decontamination:

1. FRESH AIR: Deputies/subjects that have come in contact with OC should immediately be
removed from the contaminated area. Once in fresh air, remain upright and breathe deeply
to clear out the effects of the OC. Normal breathing should return in a matter of minutes. If
the deputy/subject has any difficulty breathing, afford them immediate medical attention
(Hospital or EMS unit).

2. FREE FLOWING COOL WATER: This will allow exposed individual the ability to open their
eyes. Normal eye functions with the use of water will return in about 10 to 15 minutes. If
water is not available, roll down the windows in the car when transporting the subject and
the wind will help eye functions return. This procedure will take longer than free flowing
cool water. Water may be obtained from citizens in the field. Deputies should carry 1 to 2
gallons of distilled water and a spray bottle.

3. SOAP AND WATER: Once the subject arrives at the holding facility, afford them the use of
soap and water to remove the OC resins from the skin. If possible, do not use oil-based
soaps. The oil will coat the skin, sealing the OC to the exposed area. At no time should any
salves/creams be used for the burning sensation on the skin. The burning sensation on the
skin should subside in about an hour. Fair-skinned people may take a longer period of time.
The burning sensation is uncomfortable but is not life threatening. Always remember to use
cool free flowing water.

4. CONTACT WITH SUBJECT: Do not leave the exposed subject unattended at any time. Remain
in constant contact with the subject to ensure their safe recovery from the effects of OC.
Check the subject's upper chest area for residue from the OC spray. If the residue is present,
remove and replace the contaminated clothing. The residue in the clothing could cause the
subject to have difficulty in breathing. As mentioned previously if the subject has any
unusual effects, afford them immediate medical attention.

F. Decontamination Supplies

1. "Cool-It"

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2. "Bioshield"
3. "Rescue"
4. "Sudecon"
5. "Baby Shampoo”, any commercial "no-tears" baby shampoo; and,
6. Paper towels: each unit should be equipped with 1 or 2 rolls of paper towels.
G. Required Reports
In addition to the standard report forms required by each division, a Less than Lethal Deployment Form

(BCSO FORM 351-409) will be directed to the Chief of Training when any less lethal weaponry is utilized.

The completed report must be submitted to the Training Academy no jater than two (2) days after the
incident.

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